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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
—V.— : $3 19-Cr. 254 (ALC)
REGINALD FOWLER, :
DEFENDANT.
x

DECLARATION OF RONNIE LOTT

My name is Ronnie Lott. I am a citizen of the United States and of California, where I reside. |
am the manager of Kids 42 Investments, L.P. I was formerly a defensive back for the San
Francisco 49ers.

In 2018, David Pottruck and I met with Charlie Ebersol in person about the possibility of making
an investment in the AAF by purchasing a convertible promissory note. In connection with that
meeting, we reviewed some financial and business projections and learned that AAF had a lead
investor who was committing $170 million in equity and line of credit financing to the AAF. I
learned that the lead investor was Reggie Fowler who represented himself as a real estate investor.

That fact that AAF had lined up such a substantial first round funding commitment was important
to me as an investor. I decided to invest $100,000 through a convertible note and caused Kids 42
Investments, L.P., to make the investment. When the Series 1 funding round closed several days

later I consented to the conversion of the note to an equity position, which I understood canceled
the debt.

Without Fowler’s assurances and the expectation that he would make good as lead investor, I
would not have bought the note or allowed it to be converted..

I declare state under penalty of perjury that the foregoing is true and correct.

C/

Executed on March {3 _, 2023.

Ronnie Lott
